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                                                                       UNITED STATES GOVERNMENT


                                                         memorandum
  DATE:       November 10, 2021

  FROM:       Donald L. Coneway, Sr.
              Supervising U.S. Probation Officer

SUBJECT:      Corey Tingle
              Crim. No. 5:19-CR-00019-015 (MTT)
              International Travel Request

     TO:      Marc T. Treadwell
              Chief U.S. District Judge


             The purpose of this memorandum is to request the above named be allowed to travel
             outside of the United States.

             Tingle was sentenced August 4, 2021 to a term of 12 months’ probation under the
             provisions of 18 U.S.C. § 3607. Special conditions ordered by the Court require the
             following: financial disclosure to the U.S. Probation Office, no new credit charges or
             opening of additional lines of credit, drug and alcohol testing and treatment and
             prohibition from possessing or using alcoholic beverages while in treatment. The Court
             also ordered a criminal monetary penalty of $5,000.00 to be paid at the rate of $100 per
             month. The defendant has paid a total of $864.00 towards his monetary penalty and has a
             remaining balance of $4,136.00.

             Since his probation term began, Tingle has been residing in the Northern District of
             Georgia (ND/GA) and is therefore being supervised by the ND/GA U.S. Probation Office.
             According to the supervising officer, Tingle has remained compliant with the terms of
             probation. He has remained gainfully employed and all drug screens have been negative.

             The defendant has submitted a request to travel to Abuja, Nigeria with his wife, Ifunanaya
             Ekechukwu Tingle (Nigerian descent) to observe and attend their traditional Nigerian
             wedding. He intends to be in Nigeria for a couple weeks if the Court grants permission to
             travel. The defendant has submitted to us his hotel and airline accommodations.

             In view of the defendant’s compliance while under supervision, it is recommended the
             Court grant the defendant permission to travel to Nigeria.




             Donald L. Coneway, Sr.
             Supervising U.S. Probation Officer

             DLC/dlc
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  Court Action:
          X               Concur
                          Do Not Concur

  s/ Marc T. Treadwell                    11/10/2021
  Marc T. Treadwell                       Date
  Chief U.S. District Judge
